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P|aintiff

VS.
CR. NO. 05~20096-D

HENRY ANTHONY SHAWN LONG

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on July 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date and requested a
change of plea hearing date.

The Court granted the request and reset the trial date to September 6, 2005 with

a chan e of lea hearin date of Frida Au ust 19 2005 at 1:15 .m., in Courtroom

 

3 9th Floor of the Federal Bui|ding, Nlemphis, TN.

 

The period from August 12, 2005 through Septernber 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this a? § day Of July, 2005.

§§RN|CE B. §ONALD

UN|TED STATES D|STR|CT JUDGE

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This notice confirms a copy of the document docketed as number 17 in
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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

